                                     DEPARTMENT OF THE ARMY
                                      U.S. ARMY CORPS OF ENGINEERS
                                             SAVANNAH DISTRICT
                                        100 W. OGLETHORPE AVENUE
                                      SAVANNAH, GEORGIA 31401-3604


                                           April 16, 2020


Regulatory Division
SAS-2015-00742




Mr. William McHugh, Jr.
Sea Island Acquisition, LLC
351 Sea Island Road
Saint Simons Island, Georgia 31522

Dear McHugh:

   I refer to your letter of April 14, 2020, requesting modification of Department of the
Army permit number SAS-2015-00742. This permit authorized impacts to tidally
influenced waters (i.e. the Atlantic Ocean) to construct and maintain a new
T-head groin south of the existing southern groin and place sand along approximately
17,000 linear feet (LF) of beach located between an existing north groin, and the new
T-head groin. The project site is located within the surf zone of the Atlantic Ocean,
along the Sea Island shoreline, in Glynn County, Georgia (Latitude: 31.1833,
Longitude: 81.3310).

   In accordance with your request, I am hereby authorizing the following modifications
to Department of the Army permit number SAS-2015-00742:

  AUTHORIZED MODIFICATION:

  a. The drawing entitled “Proposed Groin & Dune Plan, Sea Island Cloister Reserve,
Beach Renourishment & Groin”, dated September 10, 2015, is replaced with the
drawing entitled “Proposed Groin & Dune Plan, Sea Island Cloister Reserve, Beach
Renourishment & Groin”, dated April 2, 2020.

  The revised drawing(s) designated herein supersede the original permit drawing(s),
enclosures, etc.

   This permit modification is subject to the terms and conditions of the original permit
and subsequent modifications. You will not depart from the approved location or plans
without obtaining prior approval from the Department of the Army.

   This authorization does not convey any property rights, either in real estate or
material, or any exclusive privileges. It does not authorize any injury to property,
invasion of rights, or any infringement of federal, state, local laws, or regulations; nor
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does it obviate the requirement to obtain State or local assent required by law for the
activity described herein. It does not affect your liability for any damages that may be
caused by the work.

   If this permit modification is agreeable to you, sign both the original and duplicate
copies. Please retain the original for your records and return the signed duplicate to this
office. Please be advised that this permit modification is valid only if the signed
duplicate copy is received in our office within 60 days from the date of this letter. If we
do not receive the signed duplicate copy from you within the 60-day timeframe, this
permit modification will automatically expire.

  If you object to this decision due to certain terms and conditions therein, you may
request that the permit be modified under our regulations at Title 33 Code of Federal
Regulations (C.F.R.) § Part 331. Enclosed you will find a Notification of Appeal Process
(NAP) Fact Sheet and Request for Appeal (RFA) Form. To request that the permit be
modified you must complete Section II of the enclosed form and return the form to the
District Engineer at the address shown above.

   In order for an RFA to be accepted, the U.S. Army Corps of Engineers must
determine that it is complete, that it meets the criteria for appeal under 33 C.F.R. § Part
331.5, and that it has been received by the District Engineer within 60 days of the date
of the NAP. Should you decide to submit an RFA form, it must be received at the above
address by this deadline.

  It is not necessary to submit an RFA form to the District Office if you do not object to
the permit decision.

  A copy of this letter is being provided to the following parties: Mr. Daniel Bucey,
Resource & Land Consultants, LLC, 41 Park of Commerce Way, Suite 303, Savannah,
Georgia 31405.

   Thank you in advance for completing our on-line Customer Survey Form located at
http://corpsmapu.usace.army.mil/cm_apex/f?p=regulatory_survey. We value your
comments and appreciate your taking the time to complete a survey each time you have
interaction with our office.
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   If you have any questions, please call Mrs. Sarah Wise, Team Lead, Coastal Branch,
at (912) 652-5550.                                       Digitally signed by
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                                      For Daniel H. Hibner, P.M.P.
                                         Colonel, U.S. Army
                                         Commanding

Enclosure

______________________________________________________________________
  Permittee hereby accepts the terms and conditions of this instrument.




_______________________________                             ____________________
           (Permittee)                                              (Date)
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   When the structures or work authorized by this permit are still in existence at the time
the property is transferred, the terms and conditions of this permit will continue to be
binding on the new owner(s) of the property. To request the transfer of this permit and
the associated liabilities with compliance with its terms and conditions, the permittee
and transferee must sign and date below.


_______________________________
    (PERMITTEE-Printed Name)



_______________________________                          ______________________
      (PERMITTEE-Signature)                                     (DATE)



_______________________________
  (TRANSFERREE-Printed Name)



_______________________________                          ______________________
    (TRANSFERREE-Signature)                                    (DATE)

   By signature below, the U.S. Army Corps of Engineers hereby validates the transfer
of the permit from the permittee named above to the transferee named above.




_______________________________                          ______________________
     Issued for and in behalf of:                               (DATE)
     Daniel H. Hibner, P.M.P.
     Colonel, U.S. Army
     Commanding
                     NOTIFICATION OF ADMINISTRATIVE APPEAL OPTIONS AND PROCESS
                                       AND REQUEST FOR APPEAL
Applicant: William McHugh; Sea Island       File Number: SAS-2015-00742                       Date: April 16, 2020
Acquisition, LLC
Attached is:                                                                                  See Section below
    INITIAL PROFFERED PERMIT (Standard Permit or Letter of permission)                        A
X PROFFERED PERMIT (Standard Permit or Letter of permission)                                  B
    PERMIT DENIAL                                                                             C
    APPROVED JURISDICTIONAL DETERMINATION                                                     D
    PRELIMINARY JURISDICTIONAL DETERMINATION                                                  E
SECTION I - The following identifies your rights and options regarding an administrative appeal of the above decision.
Additional information may be found at http://www.usace.army.mil/CECW/Pages/reg_materials.aspx or Corps regulations at
33 C.F.R. § Part 331.
A: INITIAL PROFFERED PERMIT: You may accept or object to the permit.

ACCEPT: If you received a Standard Permit, you may sign the permit document and return it to the district engineer for final
authorization. If you received a Letter of Permission (LOP), you may accept the LOP and your work is authorized. Your
signature on the Standard Permit or acceptance of the LOP means that you accept the permit in its entirety, and waive all
rights to appeal the permit, including its terms and conditions, and approved jurisdictional determinations associated with the
permit.

OBJECT: If you object to the permit (Standard or LOP) because of certain terms and conditions therein, you may request
that the permit be modified accordingly. You must complete Section II of this form and return the form to the district engineer.
Your objections must be received by the district engineer within 60 days of the date of this notice, or you will forfeit your right
to appeal the permit in the future. Upon receipt of your letter, the district engineer will evaluate your objections and may: (a)
modify the permit to address all of your concerns, (b) modify the permit to address some of your objections, or (c) not modify
the permit having determined that the permit should be issued as previously written. After evaluating your objections, the
district engineer will send you a proffered permit for your reconsideration, as indicated in Section B below.
B: PROFFERED PERMIT: You may accept or appeal the permit.

ACCEPT: If you received a Standard Permit, you may sign the permit document and return it to the district engineer for final
authorization. If you received a Letter of Permission (LOP), you may accept the LOP and your work is authorized. Your
signature on the Standard Permit or acceptance of the LOP means that you accept the permit in its entirety, and waive all
rights to appeal the permit, including its terms and conditions, and approved jurisdictional determinations associated with the
permit.

APPEAL: If you choose to decline the proffered permit (Standard or LOP) because of certain terms and conditions therein,
you may appeal the declined permit under the Corps of Engineers Administrative Appeal Process by completing Section II of
this form and sending the form to the division engineer. This form must be received by the division engineer within 60 days of
the date of this notice.
C: PERMIT DENIAL: You may appeal the denial of a permit under the Corps of Engineers Administrative Appeal Process by
completing Section II of this form and sending the form to the division engineer. This form must be received by the division
engineer within 60 days of the date of this notice.
D: APPROVED JURISDICTIONAL DETERMINATION: You may accept or appeal the approved JD or provide new
information.

ACCEPT: You do not need to notify the Corps to accept an approved JD. Failure to notify the Corps within 60 days of the
date of this notice means that you accept the approved JD in its entirety, and waive all rights to appeal the approved JD.

APPEAL: If you disagree with the approved JD, you may appeal the approved JD under the Corps of Engineers
Administrative Appeal Process by completing Section II of this form and sending the form to the division engineer. The
division engineer must receive this form within 60 days of the date of this notice.
E: PRELIMINARY JURISDICTIONAL DETERMINATION: You do not need to respond to the Corps regarding the
preliminary JD. The Preliminary JD is not appealable. If you wish, you may request an approved JD (which may be
appealed), by contacting the Corps district for further instruction. Also you may provide new information for further
consideration by the Corps to reevaluate the JD.
SECTION II - REQUEST FOR APPEAL or OBJECTIONS TO AN INITIAL PROFFERED PERMIT
REASONS FOR APPEAL OR OBJECTIONS: (Describe your reasons for appealing the decision or your objections to an
initial proffered permit in clear concise statements. You may attach additional information to this form to clarify where your
reasons or objections are addressed in the administrative record.)




ADDITIONAL INFORMATION: The appeal is limited to a review of the administrative record, the Corps memorandum for the
record of the appeal conference or meeting, and any supplemental information that the review officer has determined is
needed to clarify the administrative record. Neither the appellant nor the Corps may add new information or analyses to the
record. However, you may provide additional information to clarify the location of information that is already in the
administrative record.

POINT OF CONTACT FOR QUESTIONS OR INFORMATION:
If you have questions regarding this decision and/or the       If you only have questions regarding the appeal process you may
appeal process you may contact:                                also contact:
Sarah Wise                                                     District Commander
U.S. Army Corps of Engineers, Savannah District                U.S. Army Corps of Engineers, Savannah District
100 W. Oglethorpe Avenue                                       100 W. Oglethorpe Avenue
Savannah, Georgia 31401-3640                                   Savannah, Georgia 31401
(912) 652-5550
RIGHT OF ENTRY: Your signature below grants the right of entry to Corps of Engineers personnel, and any government
consultants, to conduct investigations of the project site during the course of the appeal process. You will be provided a
15-day notice of any site investigation, and will have the opportunity to participate in all site investigations.
                                                               Date:                              Telephone number:
________________________________________
Signature of appellant or agent.
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SEA ISLAND CLOISTER RESERVE
PROPOSED ACTIVITY:
BEACH RENOURISHMENT & GROIN
CLIENT:                                                                                                      50 Park of Commerce Way
SEA ISLAND ACQUISITION, LLC                                                                              Savannah, GA 31405 • 912.234.5300
LOCATION: GLYNN COUNTY, GA.
DATE: 9/10/15 REV: 4/2/2020 DRAWN BY: JWR                 SHEET: 2                                             www.thomasandhutton.com
JOB NUMBER: J-25447         REVIEWED BY: CLG              SCALE: 1" = 100'
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